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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


NAOMI GONZALES,

                 Plaintiff,                           C.A. No.: 1:17-cv-01754 (MWB)

        v.

AGWAY ENERGY SERVICES, LLC,

                  Defendant.


                        STIPULATION AND ORDER TO TRANSFER

       WHEREAS, Plaintiff Naomi Gonzales (“Plaintiff”) initiated this action by way of a

Complaint filed on December 6, 2017;

       WHEREAS, on January 29, 2018, Defendant Agway Energy Services, LLC

(“Defendant”) filed a Motion to Dismiss the Complaint pursuant to Federal Rules of Civil

Procedure 12(b)(1) and (b)(6), including on the basis that venue is not appropriate in the United

States District Court for the District of Delaware;

       WHEREAS, Plaintiff has agreed that venue is proper in a Court in the State of New York

and not in Delaware;

       IT IS HEREBY STIPULATED AND AGREED, by Plaintiff and Defendant, subject to

the approval of the Court, that venue shall transfer to the United States District Court for the

Northern District of New York, where Defendant maintains its headquarters, and that all other

defenses in this action are maintained, including that the Northern District of New York lacks

subject matter jurisdiction over this action.
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Dated: February 12, 2018


       IT IS SO ORDERED this                 day of                                  , 2018.



                                                      United States District Judge




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